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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                        )
                                                 )            8:06CR389
                    Plaintiff,                   )
                                                 )
      vs.                                        )             ORDER
                                                 )
LUIS JACOLA-ECHEVERRIA,                          )
                                                 )
                    Defendant.                   )




      This matter is before the court on the motion of Jeffrey L. Thomas, Assistance
Federal Public Defender, to withdraw as counsel for the defendant, Luis Jacola-Echeverria
[39]. Since retained counsel, Glenn A. Shapiro has entered an appearance for the
defendant [37], the motion to withdraw [39] is granted. Jeffrey L. Thomas shall be deemed
withdrawn as attorney of record and shall forthwith provide Glenn A. Shapiro with the
discovery materials provided the defendant by the government and such other materials
obtained by Mr. Thomas which are material to the defendant’s defense.


      IT IS SO ORDERED.
      DATED this 22nd day of January, 2007.


                                                 BY THE COURT:


                                                 s/ F.A. Gossett
                                                 United States Magistrate Judge
